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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Case No. 1:16-cv-02755-CMA-NYW

  JOSEPH A. KOVACH

           Plaintiff,
  v.

  NAVIENT SOLUTIONS, LLC,

           Defendant.


                                    FINAL PRETRIAL ORDER


                              1.     DATE AND APPEARANCES

           The Court held a final pretrial conference on February 2, 2018. Taylor T. Haywood

  appeared as counsel for Defendant Navient Solutions, LLC (NSL). Joseph C. Hoeffel

  appeared as counsel for Plaintiff Joseph A. Kovach.

                                     2.    JURISDICTION

           This Court has subject matter jurisdiction because Mr. Kovach asserts a claim for

  violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (TCPA). NSL

  does not dispute this Court has personal jurisdiction.

                               3.     CLAIMS AND DEFENSES

  Mr. Kovach's Statement:

           Mr. Kovach asserts NSL violated the TCPA by making calls to Mr. Kovach's

  cellular telephone that were automated and/or used prerecorded messages even after

  being told to stop.     Mr. Kovach found these calls harassing, upsetting, annoying,

  inconvenient, aggravating and frustrating.




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  NSL's Statement:

           NSL denies violating the TCPA. NSL services Mr. Kovach's federal student loans.

  In the ordinary course of business, NSL attempted to contact Mr. Kovach win connection

  with his federal student loans. NSL's records reflect Mr. Kovach initially consented to

  receiving calls on his cellular telephone number ending in 5587 and it ceased calling Mr.

  Kovach's cellular telephone number ending in 5587 when he requested NSL stop doing

  so. To the extent NSL made any calls to Mr. Kovach in violation of the TCPA, the

  violations were not willful or intentional.

                                      4.        STIPULATIONS

           The following facts are undisputed:

           1.    Mr. Kovach obtained two federal Stafford loans under the Federal Family

  Education Loan Program (FFELP) in 2007 (the loans).

           2.    Mr. Kovach signed a Federal Stafford Loan Master Promissory Note in

  connection with the loans.

           3.    Mr. Kovach's cellular telephone number ends in 5587.

           4.    Mr. Kovach's obtained his cellular telephone number ending in 5587 in

  2013.

           5.    Mr. Kovach provided his cellular telephone number ending in 5587 to NSL

  (then known as Sallie Mae, Inc.) in 2013.

           6.    Mr. Kovach provided his cellular telephone number ending in 5587 to NSL

  during a telephone call on June 18, 2014.

           7.    NSL called Mr. Kovach's cellular telephone number ending in 5587 during

  the relevant time-period of May 28, 2015 to August 27, 2015 (as reflected on NSL000047-



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  NSL000048) using an "automated telephone dialing system" as defined by the TCPA. 1

                                   5.        PENDING MOTIONS

           Mr. Kovach's motion for summary judgment, Doc. No. 61, and NSL's motion for

  summary judgment, Doc. No. 62, remain pending.             Mr. Kovach filed his motion on

  December 2, 2017. NSL filed its motion on December 4, 2017.

                                        6.     WITNESSES

           a.    Non-expert witnesses

           Mr. Kovach will call the following non-expert witnesses:

                 1.     Joseph Kovach
                        c/o Joseph C. Hoeffel and Amy L. Ginsburg
                        KIMMEL & SILVERMAN P.C.
                        30 East Butler Pike
                        Ambler, Pennsylvania 19002
                        Telephone: (215) 540-8888

           Mr. Kovach will testify to the allegations in his complaint and amended complaint;

      namely, his revocation of consent to be called and the continued calls following his

      revocation. Mr. Kovach will testify in person.

                 2.     Corporate representative and/or records custodian for NSL
                        c/o Justin D. Balser or Taylor T. Haywood
                        AKERMAN LLP
                        1900 Sixteenth Street, Suite 1700
                        Denver, Colorado 80202
                        Telephone: (303) 260-7712

           Mr. Kovach anticipates this witness will testify to NSL's policies and procedures

  and telephone dialing system. This witness will testify in person.

           Mr. Kovach may call the following non-expert witnesses if the need arises: None

  expected.



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   Mr. Kovach and NSL agree this stipulation is specific to this litigation only, and shall not
  be used, and shall not be used in any other litigation or proceeding.
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           NSL will call the following non-expert witnesses:

                  1.     Joseph A. Kovach
                         c/o Joseph C. Hoeffel and Amy L. Ginsburg
                         KIMMEL & SILVERMAN P.C.
                         30 East Butler Pike
                         Ambler, Pennsylvania 19002
                         Telephone: (215) 540-8888

           NSL anticipates Mr. Kovach will testify regarding his student loans, his ownership

  and use of the cellular telephone number ending in 5587, his communications with NSL,

  and the allegations his complaint. Mr. Kovach will testify in person.

                  2.     Corporate representative and/or records custodian for NSL
                         c/o Justin D. Balser or Taylor T. Haywood
                         AKERMAN LLP
                         1900 Sixteenth Street, Suite 1700
                         Denver, Colorado 80202
                         Telephone: (303) 260-7712

           NSL's corporate representative will testify regarding NSL's servicing of Mr.

  Kovach's student loans, documents related to Mr. Kovach's loans, Mr. Kovach's

  communications with NSL, and facts related to Mr. Kovach's claims and NSL's defenses.

  NSL's corporate representative will testify in person.

           NSL may call the following non-expert witnesses if the need arises: None

  expected.



           b.     Expert witnesses

           Neither party will call any expert witnesses.

                                         7.     EXHIBITS

           Mr. Kovach and NSL both intend to offer the exhibits below and stipulate to their

  admission into evidence:

                                              TITLE                                  STIP?

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       1.      Federal Stafford Loan Master Promissory Note [NSI000001-             YES
               000008]
       2.      NSL's Class Notes dated June 18, 2014 [NSI000042]                    YES
       3.      NSL'S MYL Session dated June 4, 2015 [NSI000011-000030]              YES
       4.      NSL'S call log reflecting calls to telephone number ending in 5587   YES
               from May 28, 2015 through August 27, 2015 [NSL000047-000048]
       5.      NSL's Class Notes dated from May 28, 2015 through August 27,         YES
               2015 [NSI000049-000052]
       6.      Letter from Kimmel & Silverman, P.C. to NSL dated August 31,         YES
               2015 [NSI000009]
       7.      NSL's Call Recording – File No. IRCall_140067491380150527.wav        YES
               (dated May 27, 2015)
       8.      NSL's Call Recording – File No. IRCall_140089914880150528.wav        YES
               (dated May 28, 2015)
       9.      NSL's Call Recording – File No. IRCall_1054321602A150603.wav         YES
               (dated June 3, 2015)
       10.     NSL's Call Recording – File No. IRCall_10555242326150824.wav         YES
               (dated August 24, 2015)
       11.     NSL's Call Recording – File No. IRCall_140086092160150826.wav        YES
               (dated August 26, 2015)
       12.     NSL's Call Recording – File No. IRCall_240009905260150827.wav        YES
               (dated August 27, 2015)

            Mr. Kovach intends to offer the additional exhibits listed below.   The exhibits

  marked "YES" in the third column are stipulated into evidence:

                                          TITLE                                STIP?
      13.   NSL's Responses to Mr. Kovach's First Set of Interrogatories
      14.   NSL's Responses to Mr. Kovach's First Set of Requests for
            Production
      15.   Telephone records Mr. Kovach subpoeaned from T-Mobile
          NSL intends to offer the additional exhibits listed below. The exhibits marked

  "YES" in the third column are stipulated into evidence:

                                            TITLE                              STIP?
       A.      Letter from NSL to Kimmel & Silverman, P.C. dated September 15, YES
               2015 [NSI000010]
       B.      Deposition of Joseph Kovach taken on April 28, 2017             YES
       C.      Mr. Kovach's Responses to NSL's First Set of Requests for
               Admission
       D.      Mr. Kovach's Responses to NSL's First Set of Interrogatories
       E.      Mr. Kovach's Responses to NSL's First Set of Requests for
               Production


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           Copies of listed exhibits must be provided to opposing counsel and any pro se

  parties by no later than 30 days before trial. The objections contemplated by Fed. R. Civ.

  P. 26(a)(3) shall be filed with the clerk and served by hand delivery no later than 14 days

  after the exhibits are provided.

                                             8.     DISCOVERY

           Discovery has been completed.

                                        9.        SPECIAL ISSUES

           None.

                                         10.       SETTLEMENT

           a.      Counsel for the parties met by telephone on January 23, 2018 to discuss in

  good faith the settlement of this case.

           b.      The participants in the settlement conference included counsel for Mr.

  Kovach and NSL.

           c.      The parties were promptly informed of all offers of settlement.

           d.      Counsel for the parties do intend to hold future settlement conferences.

           e.      It appears from the discussion by all counsel that there that there is some

  possibility of settlement.

           f.      Counsel for the parties considered ADR in accordance with D.C.Colo.LCivR

  16.6. The parties are considering moving for an order settling a settlement conference.

                                  11.        OFFERS OF JUDGMENT

           Counsel acknowledge familiarity with the provision of Rule 68 (Offer of Judgment)

  of the Federal Rules of Civil Procedure.            Counsel have discussed it with the clients

  against whom claims are made in this case.



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                          12.     EFFECT OF FINAL PRETRIAL ORDER

           Hereafter, this Final Pretrial Order will control the subsequent course of this action

  and the trial, and may not be amended except by consent of the parties and approval by

  the court or by order of the court to prevent manifest injustice. The pleadings will be

  deemed merged herein. This Final Pretrial Order supersedes the Scheduling Order. In

  the event of ambiguity in any provision of this Final Pretrial Order, reference may be

  made to the record of the pretrial conference to the extent reported by stenographic notes

  and to the pleadings.

                                13.   TRIAL AND ESTIMATED TRIAL TIME;

                           FURTHER TRIAL PREPARATION PROCEEDINGS

           1.     The trial will be to a jury.

           2.     The trial is estimated to last 2 days.

           3.     The trial will be held at the Alfred A. Arraj United States Courthouse,

  Courtroom A602, 901 19th Street, Denver, Colorado 80294.

           4.     There are no other orders pertinent to the trial proceedings.

           DATED this 2d day of February, 2018.


                                                 BY THE COURT:


                                                 s/ Nina Y. Wang
                                                 United States Magistrate Judge




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  APPROVED:



  This the 26th day of January, 2018.        This the 26th day of January, 2018.

   /s/ Joseph C. Hoeffel                      /s/ Taylor T. Haywood
  Joseph C. Hoeffel                          Justin D. Balser
  Amy L. Ginsburg                            Taylor T. Haywood
  KIMMEL & SILVERMAN P.C.                    AKERMAN LLP
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  Attorneys for Plaintiff Joseph A. Kovach   Attorneys for Defendant Navient
                                             Solutions, LLC f/k/a Navient Solutions,
                                             Inc.




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